      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 1 of 19



Randy J. Cox
BOONE KARLBERG P.C.
201 West Main, Suite 300
P.O. Box 9199
Missoula, MT 59807-9199
Telephone: (406) 543-6646
Facsimile: (406) 549-6804
rcox@boonekarlberg.com

Robert E. Johnston
HOLLINGSWORTH LLP
1350 I Street, N.W.
Washington, D.C. 20005
Telephone: (202) 898-5800
Facsimile: (202) 682-1639
rjohnston@hollingsworthllp.com

Attorneys for Defendants Monsanto
Company and Kerry Yates

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

TERRY KNOX and CAROLYN “COKE”                    CV 19–36–GF–BMM
KNOX,

            Plaintiffs,                     BRIEF IN SUPPORT OF
                                            DEFENDANT KERRY YATES’S
      v.                                    MOTION FOR JUDGMENT ON
                                            THE PLEADINGS
MONSANTO COMPANY and
KERRY YATES,

            Defendants.




                                     -1-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 2 of 19



                              INTRODUCTION

      Plaintiffs Terry Knox and Carolyn “Coke” Knox (collectively,

“Plaintiffs”) allege that exposure to Monsanto Company’s (“Monsanto”)

Roundup herbicide caused Terry Knox (“Mr. Knox”) to develop non-Hodgkin’s

lymphoma (“NHL”). However, in a flagrant attempt to avoid federal

jurisdiction, Plaintiffs have sued Kerry Yates (“Mr. Yates”), a Monsanto

account manager for the region of Montana where Plaintiffs reside, in his

individual capacity. Mr. Yates is only mentioned in 4 of the 118 paragraphs in

the Complaint, and none of those 4 paragraphs allege any specific actions taken

by him relative to the plaintiffs. One paragraph makes a conclusory allegation

that Mr. Yates was “aware” of Mr. Knox’s use of Roundup® and failed to warn

him of any dangers, but alleges no facts to support those conclusory allegations.

Two other paragraphs make identical boilerplate allegations that Mr. Yates

“marketed, promoted, and warrantied” the Roundup Mr. Knox used. See

Compl., ¶¶ 3, 5, 62, 70.

      Plaintiffs’ Complaint against Mr. Yates should be dismissed. The

Complaint asserts the following claims against “defendants,” collectively: Strict

Product   Liability—Design     Defect,   Strict   Liability—Failure   to   Warn,

Negligence, Breach of Express Warranty, Breach of Implied Warranty of

Merchantability, and Loss of Consortium. Montana law does not extend strict


                                         -2-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 3 of 19



liability claims to the employees of product manufacturers. See Mont. Code

Ann. § 27–1–719; Malcolm v. Evenflo Co., 217 P.3d 514, ¶ 32 (Mont. 2009);

Kelly v. General Motors Corp., 487 F. Supp. 1041, 1044 (D. Mont. 1980).

Likewise, it does not hold corporate employees liable for alleged breach of

warranty absent a personal contract. See Weaver v. Tri-County Implement, Inc.,

311 P.3d 808, ¶¶ 12–17 (Mont. 2013). Most importantly, Montana law does not

hold employees liable for any alleged negligence stemming from acts taken in

the course of their employment absent a few exceptions, none of which apply

here. See e.g. Philips v. Mont. Ed. Ass’n, 610 P.2d 154, 158 (Mont. 1980).

      In support of their claims against Mr. Yates, Plaintiffs rely on a few

conclusory statements regarding Mr. Yates’s actions involving Roundup, but fail

to state facts sufficient to meet their pleading burden. They have not alleged any

facts that fit into the exceptions to the general position of not holding employees

liable for warranty and negligence claims. Likewise, they have not alleged facts

sufficient to justify ignoring established limits on strict liability. Therefore,

Plaintiffs fail to allege facts sufficient to support a cognizable legal theory, and

pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, the claims

against Mr. Yates should be dismissed.




                                           -3-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 4 of 19



                              LEGAL STANDARD

      “After the pleadings are closed—but early enough not to delay trial—a

party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c).

“Judgment on the pleadings is proper when taking the allegations of a complaint

as factually correct, the moving party is entitled to judgment as a matter of law.”

Johnson v. Dodson Pub. Sch., Dist. No. 2-A(C), 463 F. Supp. 2d 1151, 1155 (D.

Mont. 2006) (internal citations omitted). A Rule 12(c) motion is “functionally

identical” to a Rule 12(b)(6) motion to dismiss for failure to state a claim upon

which relief can be granted, and the same legal standard “applies to motions

brought under either rule. Cafasso, United States ex rel. v. General Dynamics

C4 Systems, Inc., 637 F.3d 1047, 1054 n.4 (9th Cir. 2011). Rule 12(b)(6) calls

for dismissal of a plaintiff’s claims when the complaint either: (1) lacks a

cognizable legal theory, or (2) fails to allege sufficient facts to support a

cognizable legal theory. See Summers v. 21st Century N. Am. Ins. Co., 2015 WL

8041455, at *2 (D. Mont. Dec. 4, 2015) (internal citations omitted).

      To survive a motion to dismiss and satisfy Rule 8(a)(2)’s pleading

requirements (the standard applicable to this motion), a plaintiff must plead

“enough facts to state a clam to relief that is plausible on its face” with sufficient

specificity to “give the defendant fair notice of what . . . claim is and the

grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545,


                                            -4-
        Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 5 of 19



570 (2007) (citation and quotation marks omitted). “The plausibility standard . .

. asks for more than a sheer possibility that a defendant has acted unlawfully.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). It requires a

plaintiff to plead “factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id.

“Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id.; Twombly, 550 U.S. at 555.

“Conclusory allegations and unwarranted inferences are insufficient to defeat a

motion to dismiss for failure to state a claim.” Strizic v. Northwestern Corp.,

2015 WL 1275404, at *1 (D. Mont. Mar. 19, 2015) (citations omitted).

                                  ARGUMENT

   I.      Plaintiffs Have Failed to Plead Facts Sufficient to Support a
           Negligence Claim Against Mr. Yates.

        Plaintiffs’ Complaint lacks sufficient factual detail to state a plausible

negligence claim against Mr. Yates. First, Plaintiffs have failed to present an

adequate factual basis for holding Mr. Yates—a Monsanto employee at all

relevant times acting within the course and scope of his employment—

individually liable. Second, Plaintiffs have not alleged and cannot prove that Mr.

Yates’s actions caused their injuries. Indeed, Mr. Yates has never met Mr.

Knox, let alone breached a legal duty resulting in injury to him. Plaintiffs’

negligence claim against Mr. Yates must be dismissed.
                                           -5-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 6 of 19



         A. Plaintiffs Have Failed to Plead Facts Sufficient to Support
            Liability Against a Corporate Employee Such as Mr. Yates.

      Plaintiffs’ Complaint is devoid of factual allegations of specific conduct

by Mr. Yates that would plausibly support a negligence claim. The only

allegations specific to Mr. Yates are a generic claim that he failed to warn Mr.

Knox of any dangers associated with Roundup, and a twice-repeated formulaic

statement that he “marketed, promoted, and warrantied Roundup used by

Plaintiff.” Compl., ¶¶ 3, 62, 70. Other than those two generic allegations,

Plaintiffs merely attempt to associate Mr. Yates with Monsanto’s alleged

misdeeds by generally referencing “Defendants” throughout the pleading.

Plaintiffs allege no specific facts showing that Mr. Yates: (1) acted outside the

scope of his employment with Monsanto; (2) undertook any actions against the

best interest of Monsanto for his own pecuniary benefit; or (3) acted with malice

or ill-will towards them.

      Under Montana law, a corporate employee may not be held liable for

actions taken on behalf of his employer in the course of his employment.

Philips, 610 P.2d at 158. The only way a plaintiff can pierce this liability shield

is by showing that the employee-defendant acted in his own financial interest as

opposed to that of his employer, or with intent to harm the particular plaintiff.

Id.



                                          -6-
        Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 7 of 19



       This Court recognized as much in Strizic v. Northwestern Corp., 2015

WL 1275404, at *2 (D. Mont. Mar. 19, 2015), holding that failure to allege

specific facts against an employee-defendant sufficient to warrant piercing the

corporate shield constitutes a failure to state a claim upon which relief can be

granted, and is grounds for dismissal. In Strizic, a former Northwestern

Corporation employee brought suit against his employer and his former manager

in her individual capacity for denying a disability claim. Id. at *1. The plaintiff’s

complaint was devoid of any factual allegations that the employee-defendant

was acting outside the scope of her employment, or against the best interest of

the company for her own pecuniary benefit. Id. at *2. The Court held that a

complaint devoid of such allegations did not meet the plausibility standard

required by pleadings in federal court, and granted the employee-defendant’s

motion to dismiss for a failure to state a claim. Id. at *31; see also Flagstone

Dev. Ltd. Liab. Co. v. Joyner, 2010 WL 1780093 at *4 (D. Mont. Apr. 29, 2010)

(“Pursuant to Montana law, the Montana Supreme Court has consistently held

that dismissal against an employee for allegedly tortious conduct is appropriate

when the employee was acting as an agent within the scope of his or her

employment with the principal. Montana law provides that the principal or



1
 Notably, the Strizic court further found that while the complaint did not satisfy the
heightened pleading standards of federal court, it would have reached the same outcome
under the more lenient Montana notice-pleading standard. Strizic, 2005 WL 1275404 at *3.
                                                  -7-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 8 of 19



employer is potentially liable for the conduct, not the agent or employee

individually.”).

      Plaintiffs’ Complaint here is analogous to that of the Strizic plaintiff.

There are no specific allegations of any conduct by Mr. Yates that would

support piercing the Montana employee liability shield. Plaintiffs do not allege

that Mr. Yates engaged in any actions beyond the duties of his job as a

Monsanto employee, acted in his own interest against that of the company, or

acted with any ill-will towards them. Instead Plaintiffs rely on a few threadbare

conclusory allegations about Mr. Yates’s involvement with Roundup (though

not with Plaintiffs). The pleading standards established by Iqbal and Twombly

require specific factual allegations sufficient to support a cognizable legal theory

of liability. Plaintiffs’ brief formulaic statements, devoid of specific facts, do not

meet this standard. Plaintiffs have therefore failed to show that a plausible claim

against Mr. Yates exists. As such, the claims against Mr. Yates should be

dismissed under Rule 12(c).

          B. Plaintiffs Have Not Alleged and Cannot Prove that Mr. Yates’s
             Actions Caused Them Harm.

      A review of the nearly five pages of the Complaint outlining Plaintiffs’

negligence claim reveals a fatal flaw—even assuming the truth of the

allegations, the fact is Mr. Yates neither personally engaged in the actions

described in Count III, nor has he ever personally encountered or communicated
                                            -8-
           Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 9 of 19



with Plaintiffs. (See Doc. 1–2, passim.) As noted above with respect to the

corporate shield, Plaintiffs cannot meet their obligation to sufficiently plead

causation with respect to Mr. Yates by simply referencing plural “Defendants.”

Absent a demonstrable causal connection between Mr. Yates’s conduct and

Plaintiffs’ alleged injuries, Plaintiffs’ negligence claim must be dismissed.

       It is well-established under Montana law that “[a] defendant’s negligence

is the direct cause of the plaintiff’s injury if there is an uninterrupted chain of

events from the negligent act to the plaintiff’s injury.” Fisher v. Swift Transp.

Co., 181 P.3d 601, ¶ 36 (Mont. 2008) (citations omitted). “In such cases, proof

of causation is satisfied by proof that a party’s conduct was a cause-in-fact of the

damage alleged.” Id. (citations and internal quotation marks omitted). “A party’s

act is the cause-in-fact of an event if the event would not have occurred but for

that conduct.” Id. (citations and internal quotation marks omitted).

       Even assuming the absence of an intervening cause,2 there simply is no

connection between the actions Mr. Yates undertook (and continues to

undertake) as an employee of Monsanto and Plaintiffs’ injuries. As Mr. Yates

swore to in his May 10, 2019 declaration, he “provide[s] support to distributors

and retailers of Bayer/Monsanto products regarding product performance

issues.” (Doc 1–2 at ¶ 2 (emphasis added).) He does not and never has sold


       2
        This affirmative defense has been pled and preserved in Defendants’ Answer and, if
necessary, will be explored in more detail later in the case. (See Doc. 2 at 22.)
                                                   -9-
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 10 of 19



Monsanto products; solicited sales, taken orders, or delivered Monsanto

products; accepted payment for Monsanto products; manufactured or packaged

Monsanto products; or personally tested Monsanto products. (Id., passim.) Mr.

Yates consults with distributors and retailers regarding how to use Monsanto

products in the field, so that the distributors and retailers are able to answer their

customers’ questions about the products. He has never met Mr. Knox, let alone

promoted Roundup to Mr. Knox under the false promise of its safety.

      Plaintiffs entirely ignore the above realities. Their Complaint lacks

sufficient factual detail specific to Mr. Yates to state a facially plausible

negligence claim against him. Twombly, 550 U.S. at 545, 570. Mr. Yates did not

cause Roundup products to be sold or marketed to Mr. Knox, nor did he have a

legal duty of reasonable care with respect to “design, research, manufacture,

marketing, advertisement, supply, promotion, packaging, sale, [or] distribution

of Roundup products”—these were not his job duties, and he played no part in

any decision associated with these functions. (Doc. 6 at ¶¶ 76–78.) Mr. Yates

had no knowledge of the alleged dangers Plaintiffs insist exist with respect to

Roundup products.       (Id. at ¶¶ 79–83.) Mr. Yates instead has knowledge

(provided to him by his employer) of how these products perform in the field,

and his job was to convey that knowledge to the people and businesses that sold

Roundup products to end users. Mr. Yates had nothing to do with laboratory


                                           - 10 -
       Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 11 of 19



testing or scientific study of Roundup products or their constituent parts; never

discovered but then concealed information pertaining to either; nor could have

foreseen that Mr. Knox would allegedly be injured by Roundup. (Id. at ¶¶ 84–

88.) Plaintiffs have, tellingly, never alleged specific tortious conduct by Mr.

Yates directed to Plaintiffs.

      Mr. Yates’s role as a Monsanto employee is simple. By way of example,

when a local ag products retailer calls Mr. Yates with a question about

application rates or mixture concentrations or some other product performance

issue, Mr. Yates provides a practical answer based on his knowledge of the

product. As a service to the two local Monsanto product distributors in Denton,

Mr. Yates occasionally gave product presentations or answered specific

customer questions about product performance issues. However, as it relates to

causation, there is no allegation that Mr. Yates spoke or consulted directly with

Mr. Knox. Thus, Plaintiffs cannot plausibly assert that their alleged injuries

“would not have occurred but for [Mr. Yates’s] conduct”—his “conduct” was

never directed toward Plaintiffs. Fisher, ¶ 36 (citations omitted).

      Mr. Yates is entirely removed from corporate-level product formulation,

testing, promotion, and sales decisions—precisely the decisions raised in

Plaintiffs’ Complaint as the basis for their negligence claim. Mr. Yates and his

employer are not synonymous, and pretending they are in order to defeat


                                          - 11 -
         Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 12 of 19



diversity falls far short of federal pleading requirements. Because Plaintiffs fail

to distinguish between Mr. Yates’s conduct and the alleged conduct of

Monsanto, and absent any allegations pertaining specifically to Mr. Yates, the

Court should dismiss Plaintiffs’ negligence claim as it relates to Mr. Yates.

   II.      Montana Law Does Not Impose Strict Liability On the Employees
            of Manufacturers of Alleged Defective Products.

         Counts I and II of Plaintiffs’ Complaint assert strict product liability

claims for design defect and failure to warn. See Compl., ¶¶ 59–74. These

claims are governed by the Montana product liability statute at Montana Code

Annotated § 27–1–719, which establishes a cause of action in strict liability

against sellers of alleged defective products. See also Winters v. Country Home

Prods., Inc., 654 F. Supp. 2d 1173, 1180, 1182 (D. Mont. 2009). Strict product

liability is designed to place the risk of loss on the manufacturer/seller of a

product because it is in the best position to insure product safety. Malcolm, ¶ 32

(citing Sternhagen v. Dow Co., 935 P.2d 1139, 1146 (Mont. 1997)). Because

strict product liability is designed to promote product safety, the law is focused

solely on the condition of the product and not the conduct of a person. See Kelly,

487 F. Supp. at 1044 (quoting Kossifos v. Louden Machinery Co., 22 Ill.App.3d

587, 317 N.E.2d 749 (1974)). It is also designed to allocate the costs of injury

caused by a product to the party best equipped to handle significant expense.

Sternhagen, 935 P.2d at 1142–43.
                                          - 12 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 13 of 19



      Plaintiffs seek to hold Mr. Yates liable for the condition of an allegedly

defective product simply because of his alleged involvement in the chain of sale

by “market[ing], promot[ing], and warranty[ing] Roundup that was used by

Terry Knox.” Compl., ¶¶ 62, 70. As evidenced by Montana courts’ discussion of

the doctrine of strict product liability, Plaintiffs’ attempt to hold Mr. Yates

personally responsible is completely antithetical to the purpose of strict product

liability. The law is designed to hold product manufacturers responsible for the

condition of the products that they place into the stream of commerce and for the

information and warnings they provide to the public about the safety of their

products. It was not designed to extend liability to individual employees for their

downstream, incidental involvement with an alleged defective product.

      While there is no Montana law directly on point on this issue, based on

policy reasons similar to those expressed by Montana courts, other courts have

found that employees of a manufacturer cannot be liable under a theory of strict

liability. See e.g. Altman v. HO Sports Co., 2009 WL 2590425, at **1, 3 (E.D.

Cal. Aug. 20, 2009) (finding that a sales representative was fraudulently joined

as a sham defendant and denying a plaintiff’s motion to remand because a mere

employee of a manufacturer cannot be liable under strict products liability). The

Altman court noted that the public policy considerations of strict product

liability (enhancing public safety, maximizing protection of plaintiffs, and


                                          - 13 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 14 of 19



splitting costs among defendants) would not be served by holding an employee

defendant strictly liable, even if the employee “could technically be viewed as a

‘link in the chain’ in getting the product to the consumer market.” Id. at *3

(quoting Arriaga v. CitiCapital Commercial Corp., 85 Cal. Rptr. 3d 143, 149

(Cal. Ct. App. 2008)).

      Additionally, while the Kelly court made clear that strict product liability

is not focused on the conduct of a person, it should be noted that Plaintiffs have

not set forth with any specificity any allegations against Mr. Yates that would

support a plausible strict product liability claim against him. See Dacosta v.

Novartis AG, 2002 U.S. Dist. LEXIS 21313, at **17–21 (D. Or. Mar. 1, 2002)

(holding that a sales person was “merely an employee of [the pharmaceutical

company], the seller of the product and, therefore, is not strictly liable for the

drugs that he promotes to physicians,” and “[a]lthough [the employee] received

some benefit from sales of the drugs that he promoted in the form of bonuses

and job security, those benefits were not sufficient to confer on [him] any

ownership in or control over those products.”). Plaintiffs have not alleged that he

manufactured glyphosate-containing herbicides or had any control or

involvement in the manufacturing or distribution processes. Likewise, there are

no allegations that Mr. Yates had any ability to affect the design, packaging, or

labeling of any glyphosate-containing herbicides. There are no allegations that


                                          - 14 -
          Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 15 of 19



Mr. Yates had any control over the safety warnings associated with glyphosate-

containing herbicides or had any independent knowledge about alleged dangers

of the product beyond what he was told by his employer. Plaintiffs do not allege

that Mr. Yates had any ability to personally affect the safety of any glyphosate-

containing herbicide in any way. Because Plaintiffs have not and cannot plead

any facts that would plausibly support a claim for strict products liability against

Mr. Yates, and pursuant to the above pertinent case law, those claims must be

dismissed.

   III.     Plaintiffs Have Not Presented A Plausible Breach of Warranty
            Claim Against Mr. Yates.

      In Counts IV and V of the Complaint, Plaintiffs assert claims for Breach

of Express Warranty and Breach of Implied Warranty against both Monsanto

and Mr. Yates. Under Montana law a breach of express warranty claim is to be

analyzed under contract law. See Woodahl v. Matthews, 639 P.2d 1165 (Mont.

1982). Similarly, a claim for breach of implied warranty is a contract-based

claim. See e.g. Chandler v. Madsen, 642 P.2d 1028, 1034 (Mont. 1982) (“. . .

breach of implied warranty is a breach of contract . . .”).

      The fact that Plaintiffs’ warranty claims are analyzed under contract law

is important because Montana law is well-settled that an employee or other

agent of a corporation cannot be liable for an alleged breach of contract absent



                                           - 15 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 16 of 19



some contract between the plaintiff and that employee personally. Weaver,

¶¶ 12–17.

      In Weaver, the sole shareholder of an LLC was countersued in his

individual capacity for the LLC’s alleged breach of contract in a dispute over

auto repairs. Id., ¶¶ 3–7. In the absence of an agreement made by and with the

shareholder personally, the court refused to extend liability to the shareholder

defendant in his individual capacity. Id., ¶¶ 14–17. In so ruling the court stated,

“a member or manager, as an agent of the company, is not liable for the debts,

obligations, and liabilities of the company simply because of the agency.” Id.,

¶ 15 (quoting Comments to Mont. Code Ann. § 35–8–304). This is exactly the

situation here. The entirety of Plaintiffs allegations against Mr. Yates stem from

his employment at Monsanto. Plaintiffs have not alleged that they entered into

any contract with Mr. Yates in his individual capacity. As such, they have not

alleged a plausible breach of warranty claim against him.

      The conclusion that Mr. Yates may not be held personally liable for

breach of warranty is also required under the Montana Uniform Commercial

Code, which limits implied warranty claims to the merchant-seller. See Mont.

Code Ann § 30–2–314 (a “warranty that the goods shall be merchantable is

implied in a contract for their sale if the seller is a merchant with respect to

goods of that kind.”). Although no Montana case law was found on point, court


                                          - 16 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 17 of 19



after court to address the issue has held that warranty claims are only properly

brought against the party that sold the product—not against the individuals who

represent or work for the manufacturer. See e.g., Bloodsworth v. Smith &

Nephew, 2005 WL 3470337, at *7 (M.D. Ala. Dec. 19, 2005) (sales

representative could not be held liable for breach of implied warranty because “a

breach of warranty claim is viable only against the ‘seller’ of the goods”); In re

Rezulin Prods. Liab. Litig., 133 F. Supp. 2d 272, 286 (S.D.N.Y. 2001) (sales

representatives were fraudulently joined because, inter alia, no warranty claim

could possibly be asserted against them insofar as they “were not ‘sellers’ of the

product for purposes of warranty; the ‘seller who impliedly warranted the

merchantability of Rezulin was the pharmaceutical manufacturer”); In re Diet

Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., F.

Supp. 2d 414, 425 (E.D. Pa. 2002) (removal proper where plaintiffs failed to cite

“any authority for the proposition that a sales representative, as opposed to the

manufacturer of the product he or she was selling, would ever be liable as the

warrantor of the product . . . [o]n the contrary, sales representatives are not

considered ‘sellers’ . . . , but rather, employees of the businesses who are

sellers”) (internal quotation marks and citation omitted); Allgood v. R.J.

Reynolds Tobacco Co., 80 F.3d 168, 171 (5th Cir. 1996) (“Even where a party

has promoted a product, and made promises regarding that product, if the party


                                         - 17 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 18 of 19



is not the actual seller, a claim for breach of warranty will not lie.”); Chism v.

CNH Am. LLC, 2008 U.S. Dist. LEXIS 12639, at **6–7 (E.D. Ark. Feb. 20,

2008) (“for purposes of the warranty provisions of the Uniform Commercial

Code . . . employees who sell products to consumers on behalf of their

employers are not in the business of selling those products and therefore are not

suppliers or sellers”). The same conclusion is required under the Montana

Uniform Commercial Code.

                                CONCLUSION

      For the reasons set forth herein, Plaintiffs have failed to allege facts

sufficient to show that they have a plausible claim against Kerry Yates as

required by Rule 8(a)(2) and the Iqbal and Twombly courts. The bare bones

allegations of Plaintiffs’ claims against Mr. Yates made simply to defeat

diversity do not satisfy the pleading standards of this Court and should be

dismissed.

      DATED this 29th day of May, 2019.

                                             /s/ Randy J. Cox
                                             Randy J. Cox
                                             BOONE KARLBERG P.C.
                                             Attorney for Defendants Monsanto
                                             Company and Kerry Yates




                                         - 18 -
      Case 4:19-cv-00036-BMM Document 12 Filed 05/29/19 Page 19 of 19



                     CERTIFICATE OF COMPLIANCE

      I certify that the foregoing brief, excluding the caption, certificate of

compliance, and signature block, contains 3,965 words, as calculated by the

word-processing software used to draft the brief, and utilizes a proportionately-

spaced Times New Roman font of 14 points.

      DATED this 29th day of May, 2019.

                                               /s/ Randy J. Cox
                                               Randy J. Cox
                                               BOONE KARLBERG P.C.
                                               Attorney for Defendants Monsanto
                                               Company and Kerry Yates




                                           - 19 -
